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                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF DELAWARE
COLUMBUS LIFE INSURANCE
COMPANY,
            Plaintiff,
            v.                          No. 1:20-cv-00735-MN-JLH
WILMINGTON TRUST, N.A., as Securities
                                        FILED UNDER SEAL
Intermediary,
            Defendant.
COLUMBUS LIFE INSURANCE
COMPANY,
            Plaintiff,                  No. 1:20-cv-00736-MN-JLH
            v.
                                        FILED UNDER SEAL
WILMINGTON TRUST, N.A., as Securities
Intermediary,
            Defendant.

             COLUMBUS LIFE INSURANCE COMPANY’S REPLY
       BRIEF IN SUPPORT OF ITS MOTION FOR SUMMARY JUDGMENT
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I.     INTRODUCTION

       Before Viva bought the Policies—and before Viva paid a single penny in premium for

them—

                    Viva should have either declined to buy them or conducted a reasonable

investigation to determine how the premiums were paid, whether the Policies were taken out in

good faith, and whether there was a side arrangement at inception entitling a stranger to the death

benefits. This is, after all, what Viva’s own trade organizations say that investors who actually care

about avoiding STOLI policies should do. Viva—a sophisticated, multi-billion dollar hedge

fund—obviously had the means to do this. Viva could have picked up the phone and called the

insureds, or their family members, or their advisors, or the brokers, or the trustees, or the lenders.

Viva had their names, the names of their companies, and/or their actual phone numbers in its files.

But Viva decided not to do one iota of external investigation and instead chose to willfully blind

itself to the origination facts of policies                                         . This is fatal to

Wilmington Trust’s premium refund claim because a STOLI investor cannot prove an entitlement

to a premium refund unless it was reasonably unaware of the policy’s insurable interest problems.

       Wilmington Trust has nothing of any substance to say in response. It says, for example,

that Viva did not need to follow its own trade organization’s minimum diligence standards; that it

would not have been practical for Viva to make some phone calls before spending millions of

dollars on policies it concedes it knew were risky; and that Viva would not even know how or

where to begin. Each of these excuses is more frivolous and disingenuous than the next. Viva is a

sophisticated, multi-billion dollar hedge fund. The notion that it lacked the ability to investigate

policies it knew were risky and potentially human life wagers is absurd. The reality is that Viva

willfully blinded itself because Viva thought it could profit handsomely from investing in human

life wagers that are anathema to hundreds of years of public policy, violative of the Delaware
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Constitution, and represent a fraud on the court. A party that pays money into an illegal agreement

after willfully blinding itself to the facts giving rise to that invalidity is not entitled to restitution.

        Moreover, awarding restitution to Wilmington Trust here would frustrate Delaware’s

public policy against STOLI. To be clear, after being caught red-handed buying and perpetuating

human life wagers in violation of Delaware’s public policy and Constitution, Wilmington Trust is

asking this Court to award it $6 million more than the Policies’ combined death benefit. That is,

Wilmington Trust is claiming an entitlement to be paid $6 million more than it would have been

paid if it had invested in legitimate policies solely because it invested in illegal policies and got

caught. Awarding Wilmington Trust the relief it seeks would not just frustrate Delaware’s public

policy against human life wagering, it would eviscerate and make a complete mockery of it.

        Respectfully, for the reasons set forth in Columbus Life’s prior briefing, and set forth

below, Columbus Life’s motion for summary judgment should be granted. The Policies should be

declared void ab initio, and Wilmington Trust’s request for a premium refund should be denied.

II.     ARGUMENT

        A.      Wilmington Trust Is Not Entitled To A Refund Of The Premiums It Paid.

        STOLI policies are “void ab initio, anathema to hundreds of years of public policy, [and]

violative of the Delaware Constitution,” “represent a ‘fraud on the court,’ and can never be

enforced.” Wells Fargo v. Estate of Malkin, 2022 WL 1671966, at *1, *9 n.48 (Del. May 26, 2022)

(“Malkin”). Where, as here, “it is against the public policy of this state to permit its courts to

enforce an illegal contract prohibited by law . . . [o]rdinarily . . . neither party has a remedy to any

extent against the other.” Della v. Diamond, 210 A.2d 847, 849 (Del. 1965) (citing Eisenman v.

Seitz, 25 A.2d 496 (Del. Ch. 1942) (refusing to return money paid into void ab initio agreement

because that would disincentivize parties from entering into those kinds of illegal agreements in

future)). Thus, parties to STOLI policies are ordinarily not entitled a refund of premiums paid and

                                                     2
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must instead prove an entitlement. Brighthouse Life Ins. Co. v. Geronta Funding, 2019 WL

8198323 (Del. Super. Ct. Mar 4, 2019), interlocutory certif. denied, 2019 WL 8198324 (Del.

Super. Ct. Mar. 14, 2019), interlocutory appeal denied, 207 A.3d 579 (Del. Mar. 28, 2019).

       To prove an entitlement, an investor must “establish the elements of a viable legal theory,

such as unjust enrichment” and show that awarding restitution will not frustrate “the public policy

underlying the ban on human life wagering.” Malkin, 2022 WL 1671966, at *6, *12-14; see Della,

210 A.2d at 849; Eisenman, 25 A.2d at 498; see also Restatement (Second) of Contracts §§ 197,

198. The sorts of cases where courts across the country have held that refunds will not frustrate

public policy are summarized by the Restatement (Second) of Contracts § 198: Where the claimant

was (i) excusably ignorant; (ii) in a protected class; or (iii) oppressed or misrepresented into the

illegal agreement. Id. cmts. a & b. Consistent with that authority, the Delaware Supreme Court

recently explained that an investor cannot recover STOLI premiums unless it was “reasonably

unaware of the insurable interest problems.” Malkin, 2022 WL 1671966, at *13.

       Wilmington Trust cannot prove an entitlement to a premium refund here because its

principal, Viva, willfully blinded itself to the details of the Policies during its (non-existent)

diligence period and paid every penny of the premium it now seeks

                            in the hopes that it would eventually slip death claims on those Policies

past an unwitting carrier and profit handsomely on illegal and unconstitutional human life wagers.

               1.



                              Indeed, in response to written interrogatories, Viva wrote:




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Ex. VV at Nos. 4-5. At Viva’s deposition,

                                                                              Ex. MM at 218:13-

225:5; see also Exhibit GGGG, Viva’s heavily-redacted

       In its motion papers (Ans. Br. 11), Wilmington Trust tries to walk back

                                                              by baldly arguing that

           had nothing to do with any particular attribute of the Policies themselves and that

                                                                       and the industry knows that

Delaware policies have some amount of risk because of Price Dawe.” But Viva’s interrogatories

don’t say that;

                                                                “A party cannot use the attorney-

client privilege as both a ‘shield’ from discovery and a ‘sword’ in litigation. A defendant may not

refuse to produce privileged attorney-client communications only to rely subsequently on the

substance of those communications to prove its case.” In re Quest Software Inc. Shareholders

Litig., 2013 WL 3356034, at *2 (Del. Ch. July 3, 2013). That is precisely what Wilmington Trust

is trying to do here. Having refused to disclose during discovery

                                  Wilmington Trust’s attorneys cannot now be allowed to offer

speculation as to                            It would violate Delaware’s shield-not-a-sword rule

and be fundamentally unfair to allow Wilmington Trust to argue that




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                        but then refused to allow Columbus Life to explore the details
                                                                          1



       Any Alleged Ignorance of the Facts Giving Rise to the Illegality Arose Out Of Viva’s

Willful Blindness. Wilmington Trust’s attorneys argue that

                               Viva did not necessarily know that they would, if challenged, be

deemed to lack insurable interest because, it argues, Viva did not know all of the Policies’

origination facts. But assuming for sake of argument that Viva did not know all of the facts giving

rise to the Policies’ illegality, that is only because Viva willfully blinded itself to those facts. To

be clear, Wilmington Trust concedes (Ans. Br. 30-31) that the only factual investigation Viva made

into the Policies was to review the “limited documents available in the data room for the Policies,”

and that Viva did not do one iota of external investigation.2 Indeed Viva concedes that it did not

try to obtain the core program documents referenced (but not contained) in the data room (e.g., the

Participation Agreement, the Trust Agreement, and the Financing Agreement) and that it did not

even bother to make a single phone call to even a single insured—even though Viva had their

phone numbers and Viva’s own trade organization’s “minimum” diligence guidelines instructs


1
 Viva’s interrogatory responses likewise try to explain
But it would not be fair for the Court to consider this explanation either since Viva refused to
disclose
       What Viva is really doing here is disclosing alleged facts on this topic that it believes are
favorable while shielding Columbus Life from exploring “the details” and “the reasons why,”
which are obviously negative. See Ex. MM at 218:13-225:5 (conceding that Viva was testifying
to some, but not all,                                 and was leaving some parts out).
2
  The best Viva says is that it sought and obtained (watered-down) representations and warranties
from the seller’s agent regarding insurable interest. But that is not an investigation into facts; that
is Viva’s attempt to cover itself in the event certain of the policies it was buying turned out to be
invalid. The fact that Viva could (and did) engage in “private ordering” to reduce its risk is even
more reason why Viva should look for relief to its own commercial chain. See Malkin, 2022 WL
1671966, at *13 (finding that if a factfinder determines a STOLI investor has a remedy at law
against the entity from which it purchased the STOLI policy, then the STOLI investor cannot
sustain an unjust enrichment claim against the party bringing the § 2704 claim).

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investors to do both of those things before buying policies to ensure that the policies were properly

funded and originated and that they are not buying policies created for investors.3 Viva cannot be

heard to argue that it was excusably ignorant when it willfully blinded itself to the facts.

       Wilmington Trust’s explanations for why Viva did not do these things are not tenable.

Wilmington Trust says (Ans. Br. 32-35) that ILMA’s minimum diligence guidelines somehow do

not pertain to Viva because Viva buys policies from other investors; whereas, the ILMA guidelines

were only intended to apply to investors who buy policies from original policyholders. This is a

distinction without any semblance of a difference. The reason ILMA’s minimum diligence

guidelines call for investors to interview insureds and other persons prior to buying policies is to

ensure that those policies were funded properly and not created for investors. All investors—

regardless of whether they consider themselves operatives in the so-called secondary or tertiary

markets—have an interest in ensuring that the policies they buy were properly originated.4

       Wilmington Trust’s argument (Ans. Br. 34) that the “ILMA guidelines do not even make

sense when applied to tertiary market buyers like Viva [because] [u]nlike secondary market

providers, tertiary market buyers often purchase dozens, if not hundreds, of policies in a single


3
 Viva’s attorneys at Schulte Roth & Zabel (Weinberger and Ziser) have long served as outside
general counsel to ILMA. D.I. 159-1 at 34:20-35:22, 85:2-14); see also ILMA Amicus Brief, PHL
Variable Ins. Co. v. Price Dawe 2006 Ins. Tr., No. 174, 2011, at 1 (Del. June 23, 2011) (Trans. ID
38312090) (identifying Ziser and Weinberger as authors of ILMA’s brief).
4
  ILMA does not actually dispute this. See D.I. 159-1 at 127:1-133:1 (ILMA testifying that the
purpose of the guidelines is to prevent investors from trading in STOLI and “to make sure that
everybody up and down the stream adheres to the laws of the various states governing this
transaction”). Instead, ILMA’s point is that, in its view, downstream buyers should able to pass
the buck upstream, requiring upstream investors to do the diligence ILMA recognizes needs to be
done so that downstream investors don’t have to. But ILMA cites to no provision of the law that
immunizes downstream buyers from conducting reasonable diligence. There is none. If
downstream buyers like Viva want to rely upon the diligence done by upstream sellers, they are
free to do that through standard contractual mechanisms such as representations, warranties,
indemnification, etc. But the mere fact that Viva is a downstream purchaser does not relieve it of
the obligation to do a reasonable investigation, or failing that, to live with the consequences.
                                                  6
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portfolio, which precludes any realistic possibility of conducting ‘phone interviews’ with hundreds

of insureds or obtaining certifications from hundreds of insurance producers” is frivolous. The

portfolio Viva bought for                                                 Exhibit HHHH, Preston

Portfolio Evaluation, at 12. Viva—a multi-billion dollar hedge fund—cannot possibly say with a

straight face that making      phone calls before investing                   was not realistically

possible. And, at most, only                  were issued in Delaware—the state Viva concedes it

knew was a risky place to invest in STOLI.5 Not even Wilmington Trust has the chutzpah to

suggest that making                before spending                would have been unreasonable.6

       Wilmington Trust also argues (Ans. Br. 35) that it “makes no sense” to expect Viva to have

“tracked down additional documents that were not in the data room” because “Viva could not

possibly know who, if anyone, had copies of any additional, decade-old documents . . . which

would have resulted in hundreds, if not thousands, of inquiries.” This argument is also frivolous.

Viva concedes that the data room contained copies of the Authorization to Sell Trust Certificate to

Pay Off Premium Finance Loan for both Policies. Ex. Q; Exhibit IIII, Auth. to Sell Tr. Cert.

(Cohen); Ex. MM at 128:16-129:9, 134:6-9. These documents identify the original policyholders

as the Cohen and Romano Trusts, respectively; state that the trustee of both was Capital Trust

Company of Delaware; state that the lender was Columbus Circle Capital, LLLP; and provide



5
 Most of the policies in the portfolio were issued in states like New York, California, and Florida,
which Viva considers to be “safe states” where insurance companies are unable to successfully
challenge STOLI policies. Ex. HHHH at 17; Ex. MM at 221:8-11.
6
  The notion that calling insureds would be “fruitless” because they were not under a contractual
obligation to speak is absurd and hardly warrants a response. Moreover, as soon as Viva acquired
the portfolio—and before it paid the premium it is seeking to have refunded—Viva actually did
have its servicer call the insureds so Viva could track their health and become notified when they
died. But even then Viva did not make any inquiry into the Policies’ origination facts even though
they identified those policies as risky. Ex. MM at 42:2-11, 44:10-19, 49:10-51:7, 53:10-25, 128:9-
129:9, 130:21-133:3, 134:3-135:18, 154:21-155:3, 170:13-173:22, 176:24-178:1, 181:18-182:23.

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signature lines for both Bart Kavanaugh (as Chairman of Columbus Circle) and Robert Eaddy (as

SVP of Capital Trust Company). Viva also concedes that the data room contained copies of the

applications which list Ed Leisher as the insurance producer. Ex. Q; Ex. IIII. Viva also concedes

that the data room contained the names, addresses, and telephone numbers for the insureds, their

family members, and in Cohen’s case, her attorney (George Wilson). Ex. ZZ at rows 59-62, 236-

238; Ex. MM at 178:9-182:1. Any one of these individuals could have given Viva the information

it needed. Wilmington Trust’s contention that Viva did not know who to ask for the relevant

documentation—and that figuring it out would have taken thousands of inquiries—is total fiction.

       Viva And Geronta Conducted Essentially the Same Non-Existent Diligence. Wilmington

Trust’s papers argue (Ans. Br. 29) that “[t]he most telling omission in Columbus’ excusable

ignorance argument is Columbus’ failure to compare the facts concerning the Seck policy owner’s

utter lack of due diligence . . . with the facts concerning Viva’s due diligence,” which Wilmington

Trust has the audacity to refer to (Ans. Br. 32) as “extensive.” But what factual investigation did

Viva conduct that Geronta7 did not? Neither investor bothered to conduct a single piece of external

investigation whatsoever. Although both had the insureds’ phone numbers, neither bothered to call

them; although both had the ability to contact the trustee of the original policyholders, neither did;

although both had the ability to contact the insurance producer and the original premium funder,

neither did that either. Instead, both Viva and Geronta chose to willfully blind themselves, which

as Geronta explained is the “standard in the tertiary market.” Brighthouse Life Ins. Co. v. Geronta




7
  The investor in Seck was a hedge fund called Geronta Funding that was also represented in
connection with that transaction by Viva’s attorneys at Schulte Roth & Zabel (Boris Ziser and Tom
Weinberger). Ltr. from Geronta to B. Ziser and T. Weinberger, Appendix to Brighthouse’s Ans.
Br., Seck, No. 380, 2021 (Del. Mar. 3, 2022), D.I. 33 at B109.

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Funding, 2021 WL 4080672, at *17 (Del. Super. Ct. Aug. 20, 2021) (“Seck”).8 The reality is that

the “utter lack of due diligence” Viva describes Geronta as having conducted (Ans. Br. 29) is not

meaningfully different from the utter lack of diligence Viva did here.

               2.      Wilmington Trust Cannot Prove That Columbus Life Oppressed or
                       Misrepresented Viva Into Paying Premium.

       Viva—a sophisticated, billion-dollar hedge fund that has been advised since its inception

by sophisticated attorneys who themselves have deep roots in the STOLI market—is a STOLI

investor. Viva does not invest in the legitimate life settlement market—it invests in the illegitimate

underbelly of that market. Indeed, as is seen in litigation after litigation, Viva’s business model

involves knowingly buying portfolios of human life wagers that most of the market won’t touch.

That is what Viva did when it bought the Monarch Portfolio; that is what Viva did when it bought

the LPC Portfolio; that is what Viva did when it bought several tranches of the AIG/Coventry

Portfolio; and that is what Viva did here. CL_Op._Br. at 20. Indeed, Viva bought the Policies

                                                 ; made the deliberate “business decision” to pay

premiums on them anyway; and never once brought its concerns to Columbus Life (either to seek

a policy cancellation and premium refund or a release of claims). To the contrary, Viva kept its

concerns to itself and sat silently by in the hopes it would eventually be able to slip death claims

on these illegal human life wagers past an unwitting carrier. Columbus Life did not oppress or

trick Viva into paying premium; Viva paid every penny knowing exactly what it was doing.



8
  Although the quoted language was in reference to why downstream investors don’t check to see
if the insureds are deceased prior to buying the policies, the factual investigation Geronta is saying
that tertiary market members don’t do is the same: They do not conduct one iota of external
diligence. With respect to whether insureds are alive, they do no diligence for the reasons explained
by Geronta. With respect to stranger origination, they do no diligence for reasons illustrated by
this case: They do not want to know how the policies were originated so that, if their policies are
ever challenged, their lawyers can stand before courts like this one and argue that their clients were
just innocent downstream purchasers who had no idea the policies were improperly originated.
                                                  9
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       Wilmington Trust contends (Ans. Br. 23) that Sol is “directly on point,” but fails to mention

that Sol was predicated on a theory this Court already dismissed as inapplicable—promissory

estoppel. Moreover, to the extent Sol is read to stand for the more general proposition that, anytime

both parties to a STOLI policy are inexcusably ignorant, insurers must refund premium, it is

mistaken.9 To the contrary, when such is the case, the correct result is to leave both parties where

they are found. See, e.g., Central States Health & Life Co. v. Miracle Hills, 456 N.W.2d 474, 478

(Neb. 1990) (citing Restatement (Second) of Contracts § 198) (“Neither party was excusably

ignorant of the facts affecting the use of premises and neither party is entitled to restitution.”).

        In the 2000s, the insurance industry was the victim of a massive STOLI fraud. Insurers,

like Columbus Life, issued policies in good faith reliance upon the insurable interest-related

representations contained in policy applications, as they are permitted to do by statute. 18 Del. C.

§ 2704(d). But they were tricked by investors who dressed up illegitimate STOLI transactions to

look like legitimate business. Although the insurers tried over time to understand and combat the

massive fraud that was being perpetrated against them, they were not successful. Every market

participant has a role to play in ensuring a legitimate market. The time for an insurer to conduct its

investigation is during underwriting. The time for investors to conduct their investigation is during

diligence. Wilmington Trust’s argument that Columbus Life should have done more to determine

that the Policies were STOLI after they were underwritten and issued ignores the reality that

insurers are not the policemen of the life settlement market. When an insurer, like Columbus Life,

issues policies after a good faith investigation, the burden falls on investors to do their part by

conducting reasonable diligence and refusing to buy policies



9
  For the reasons discussed throughout Columbus Life’s papers, Columbus Life was not
inexcusably ignorant of the Policies’ lack of insurable interest here.

                                                  10
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                    A rule that awards investors, like Viva, who deliberately do not do this with a

premium refund will incentivize the creation of more STOLI.10 See CL_Op._Br. at 37-41.

       In fact, the Sol analysis, if applied to the economics of this case, illustrates why applying

that analysis is profoundly wrong. In Sol, the court ordered the insurer to disgorge all premiums

received to the current policyholder plus interest, which amounted to a “refund” of $1.9 million

on a $10 million policy. Sun Life v. U.S. Bank, 2019 WL 8353393, at *3 (D. Del. Dec. 30, 2019)

(“Sol”). Although that decision was wrong for the reasons explained above, the STOLI investor

there still took a substantial loss for investing in STOLI. But if that same (incorrect) rule were

applied here, the opposite would happen: Viva would be rewarded handsomely for investing in

STOLI. Not only would Viva get its entire $10 million human life wager payout, but it would also

get $6 million to boot. This would send exactly the wrong message to the STOLI investors and

creators of the world: That investing in human life wagers in violation of Delaware’s longstanding

public policy and constitution can be immensely profitable, even if you get caught. See Malkin,


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   Wilmington Trust’s argument (Ans._Br. at 12, 42-44)—that STOLI is over because “[t]he laws
governing the insurance markets in 2022 are fundamentally different than they were in the early
2000s” and that states like Delaware, which were targeted by massive STOLI scams in the mid-
2000s, can therefore let their guards down now—is as speculative as it is wrong. As Price Dawe
recognizes, STOLI is driven by the market forces of supply and demand. PHL Variable Ins. Co.
v. Price Dawe 2006 Ins. Tr., 28 A.3d 1059, 1070 (Del. 2011) (“Price Dawe”). If there is money to
be made creating STOLI, unscrupulous actors will create it, and if downstream STOLI investors
are allowed to profit when they get caught knowingly buying STOLI, they will keep buying it,
sustaining the very demand that causes STOLI to be created in the first place. Wilmington Trust’s
arguments that recent court decisions and legislation confirming STOLI to be unlawful will change
that is absurd. STOLI has been illegal in Delaware for hundreds of years. Id. at 1067 n.22 (citing
Baltimore Life Ins. Co. v. Floyd, 91 A. 653 (Del. Super. Ct. 1914), aff’d 94 A. 515, 520 (Del.
1915)); see Malkin, 2022 WL 1671966, at *1 (“For hundreds of years, the law has prohibited
wagering on human life through the use of life insurance that was not linked to a demonstrated
economic risk.”); id. at *9 n.48 (“We stress that STOLI arrangements are unique in that they are
not simply void ab initio, anathema to hundreds of years of public policy, or violative of the
Delaware Constitution, but they boast all three of these unenviable qualities.”). That did not stop
STOLI promoters from targeting Delaware in the 2000s, and it won’t stop them from targeting
Delaware again in the future. The only thing that will stop STOLI is to make STOLI unprofitable.

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2022 WL 1671966, at *6 (when considering STOLI counterclaims, courts should look, as

appropriate, to “the public policy underlying the ban on human life wagering” to decide the

counterclaims’ viability); id. at *9 (“[B]ecause STOLI policies are void ab initio, when an investor

receives their proceeds it does not commit ‘a violation of the rights of the claimant’ but rather a

violation of Article II, Section 17 of Delaware Constitution and of the State’s public policy.”).

               3.      Wilmington Trust Cannot Prove A Disproportionate Forfeiture.

       Wilmington Trust fundamentally misstates the concept of disproportionate forfeiture.

Section 197 is not concerned with whether denying restitution will cause the promisor to receive

an alleged “windfall.” Rather, it is concerned with whether the promisee suffered a

“disproportionate forfeiture,” meaning disproportionate to the promisee’s misconduct in light of

the public policy at stake, not the money retained by the promisor. Restatement (Second) of

Contracts § 197 cmt. b (“Whether the forfeiture is ‘disproportionate’ for the purposes of this

Section will depend on the extent of that denial of compensation as compared with the gravity of

the public interest involved and the extent of the contravention.”).11

       Here, Viva’s misconduct was willfully blinding itself to the Policies’ origination facts and

buying policies                                          , and the forfeiture it stands to suffer is the

loss of the premiums it knowingly paid to maintain those Policies. This is not remarkable in any

way and certainly not disproportionate to Viva’s knowing and/or willfully blind acquisition.

Indeed, courts in Delaware and across the country routinely decline to rescue disappointed buyers

from the natural consequences of their lack of diligence. See, e.g., Interim Healthcare v. Spherion,



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  Wilmington Trust’s argument (Ans._Br. at 21) that courts applying the laws of other states have
supposedly “found disproportionate forfeitures in other contexts where a party ‘receives an
enormous windfall at no cost whatsoever’” are not on point. Most of them do not even involve
void ab initio agreements and many do not even contain the phrase “disproportionate forfeiture.”


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884 A.2d 513, 551 n.305 (Del. Super. Ct. 2005) (“Delaware courts do not rescue disappointed

buyers from circumstances that would have been guarded against through normal due diligence

and negotiated contractual protections.”), aff’d, 886 A.2d 1278 (Del. 2005) (Table); VGS v.

Castiel, 2004 WL 876032, at *6 (Del. Ch. Apr. 22, 2004) (sophisticated investor’s failure to

recognize importance of contract made available during due diligence diminished plaintiff’s fraud

and breach of contract claim); Debakey v. Raytheon Serv., 2000 WL 1273317, at *26-28 (Del. Ch.

Aug. 25, 2000) (finding party’s “cost-benefit analysis” that “less-than-careful job of diligence

would suffice” was a decision it was “free to make,” but that it must “live with its consequences”).

       This is particularly so when the gravity of the public interest is considered. Viva

bought and perpetuated human life wagers in the hopes of cashing in on their death benefits. This

was no “mere technical violation of a rule or regulation”—the classic example of disproportionate

forfeiture. Restatement (Second) of Contracts § 197 cmt. b (“The exception is especially

appropriate in the case of technical rules or regulations that are draw so that their strict application

would result in such forfeiture if restitution were not allowed.”). Indeed, the Delaware Supreme

Court made clear that when an investor “obtains” STOLI death benefits it violates Delaware’s

Constitution, Malkin, 2022 WL 1671966, at *9, and the General Assembly made clear through 18

Del. C. § 2704(b) that the owner of any STOLI policy should be subject to a significant forfeiture.

Declining to award a knowing STOLI buyer a premium refund is not a disproportionate forfeiture.

               4.      Wilmington Trust Cannot Prove That Viva Is In The Class Of Persons
                       The Insurable Interest Laws Were Designed To Protect.

       As noted, courts have found that awarding restitution under void ab initio agreements will

not frustrate the public policy giving rise to the invalidity where it is provided to the persons the

public policy was designed to protect. Restatement (Second) of Contracts § 198 cmt. b. Here, the

public policy giving rise to the Policies’ invalidity is Delaware’s immense policy against human


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life wagering. The doctrine of insurable interest was designed to protect insureds from investors,

not to protect investors from their own knowing decision to invest in human life wagers. Viva is

plainly not in the class of persons the insurable interest laws were designed to protect.

               5.      Wilmington Trust’s Contention That Columbus Life Conflated The
                       Restatement’s Exceptions Is Meritless.

       Wilmington Trust spills considerable ink (Ans. Br. 7-9, 19-29) complaining that Columbus

Life has somehow conflated what it refers to as the Restatement’s “disjunctive” analysis into a

single consideration: excusable ignorance. Wilmington Trust is mistaken. Section 198 discusses

three categories of cases where courts across the country have determined that restitution of money

paid into illegal agreements would not frustrate public policy, namely when the claimant (i) is

excusably ignorant; (ii) is in the protected class; and (iii) was oppressed or misrepresented into the

illegal agreement. Id. cmts. a & b. Section 197 discusses an additional situation: where the

claimant’s forfeiture is disproportionate to its conduct. Set the protected class category aside since

even Wilmington Trust can’t bring itself to argue that Viva is in a protected class. The common

thread running through the other exceptions is that parties who knowingly pay money into illegal

agreements without being reasonably unaware of their invalidity cannot recover. An inexcusably

ignorant claimant cannot recover because it either knew or should have known of the illegality.

Although a party oppressed or misrepresented into an illegal agreement may recover, one cannot

be oppressed or misrepresented into paying money into an illegal agreement if one knew or should

have known that it was illegal. And finally denying restitution to a knowing or willfully blind

participant does not result in disproportionate forfeiture for the reasons discussed above.

       Although the exceptions are couched in the disjunctive, paying premium into an illegal

STOLI policy without being reasonably unaware of the policy’s insurable interest problems is fatal

to an investor’s claim for a premium refund, as other investors have conceded. See Malkin, 2022


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WL 1671966, at *13 (“Next, the parties appear to agree that Berkshire cannot recover the premium

it paid if Berkshire was not reasonably unaware of the insurable-interest problem. We leave for

determination of the certifying jurisdiction the issue whether Berkshire was reasonably unaware

that the Policy was a STOLI arrangement and, thus, whether an award of restitution would be

consistent with ‘the fundamental principles of justice or equity and good conscience.”).

               6.     Wilmington Trust Is Not Entitled To An Automatic Refund.

       For the reasons expressed in Columbus Life’s prior briefing, Wilmington Trust’s argument

that it is entitled to an automatic, proof-less refund of all premiums ever paid is incorrect and

misstates Delaware law. See CL_Op._Br. at 36-41; CL_Ans._Br. at 26-30.12 For sake of efficiency,

Columbus Life will not repeat those arguments here.

               7.     Wilmington Trust Is Not Entitled To A “Refund” of Premiums Paid By
                      The Policies’ Prior Owners.

       Wilmington Trust is not just seeking a refund of the premium Wilmington Trust paid for

Viva. Wilmington Trust is also seeking a “refund” of the premium it did not pay. The Court need

to not reach this question here since no rational factfinder could conclude that Viva proved an

entitlement to its own premium back. But assuming arguendo that Wilmington Trust had proven

an entitlement to a refund of the premiums it, on behalf of Viva, paid, Wilmington Trust’s claim

for a refund of premiums paid by prior owners fails for additional reasons.

       To prove unjust enrichment,13 a claimant must prove “the unjust retention of a benefit to

the loss of another, or the retention of money or property against the fundamental principles of


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   As this Court is aware, this issue is currently before the Delaware Supreme Court in the Seck
case, which was recently argued, and a decision will likely be issued soon. See Oral Argument,
Seck,       No.      380,      2021       (Del.      June      8,     2022),    available     at
https://livestream.com/accounts/5969852/events/10395723/videos/231578200/player.
13
  Viva pled an entitlement to the premiums paid by prior owners through an unjust enrichment
counterclaim. D.I. 10 Cntrcl. IV; D.I. 10 Cntrcl. IV.

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justice or equity or good conscience.” Malkin, 2022 WL 1671966, at *12. The elements are “(1)

an enrichment; (2) an impoverishment; (3) a relation between the enrichment and impoverishment;

(4) the absence of justification; and (5) the absence of a remedy provided by law.” Id. No rational

factfinder could conclude that Wilmington Trust has proven these elements here.

       Wilmington Trust’s explanation for why it thinks it can prove unjust enrichment as to

premiums it did not pay is briefed (Op. Br. 43-45) in threadbare fashion over the course of a mere

two pages. Wilmington Trust contends that—in addition to the premium Viva paid to Columbus

Life (discussed supra, § II(A)(3)), Viva was also impoverished by paying                   to Delta

Lloyd to acquire the Policies. But Viva did not pay Columbus Life to acquire the Policies; rather,

Viva paid the seller, Delta Lloyd. That is, the impoverishment Wilmington Trust seeks to redress

did not enrich Columbus Life; it enriched Delta Lloyd, who received                   from Viva in

exchange for unenforceable STOLI policies. This is an insurmountable obstacle for Wilmington

Trust as it shows there is no relationship between the alleged enrichment and impoverishment.

       To try to remedy this, Wilmington Trust argues that Viva’s Bill of Sale with Delta Lloyd

can be interpreted as conveying to Viva, not just the Policies, but also the rights prior owners may

have possessed to obtain their own premium refund. This argument fails as well for many reasons.

       First, Wilmington Trust does not cite to any cases holding that alleged rights to refunds of

performance made into agreements void ab initio as against Delaware’s public policy and

Constitution are susceptible to being sold.

       Second, Wilmington Trust does not cite to any contractual provision actually stating that

Wilmington Trust was buying Delta Lloyd’s alleged right to a refund of the premiums it paid in




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the event the Policies were deemed to be human life wagers, nor does Wilmington Trust offer any

evidence from Delta Lloyd that it intended to sell any such rights to Viva.14

       Third, even if we assume for sake of argument that Delta Lloyd purported to sell to Viva

Delta Lloyd’s alleged rights to recover the premiums Delta Lloyd paid, Wilmington Trust does not

even try to show that Delta Lloyd possessed and sold to Viva the alleged rights of all of the

investors that owned the Policies prior to Delta Lloyd.

       Indeed, one would not know it from reading Wilmington Trust’s briefs, but the Policies

were conveyed as many as eight times post-issuance and prior to being acquired by Delta Lloyd.

Indeed, as Columbus Life understands it, (i) the Policies were originally issued to the Trusts; (ii)

a year or so later, the Trusts sold their residual interests in the Policies to Columbus Circle Capital;

(iii) Columbus Circle then sold the Policies to Invest SLPS; (iv) Invest SLPS then conveyed the

Policies to ABC Viaticals; (v) after ABC Viaticals was put into receivership due to life insurance

securitization fraud, ABC Viaticals sold the Policies to Orca LSI Trust; (vi) a few years later, Orca

LSI Trust transferred the Policies to Orca Halley Trust; (vii) six months or so later, Orca Halley

Trust transferred the Policies to Halley Trust; (viii) about 3.5 years later, Halley Trust transferred

the Policies to Orca Trust; and (ix) about three years after that, Delta Lloyd acquired the Policies

by foreclosing on Orca Trust, which entity shortly thereafter sold the Policies to Viva, which entity

shortly thereafter transferred them to Wilmington Trust, as alleged securities intermediary.

       Wilmington Trust does not even bother to argue—let alone prove—that those prior owners

purported to sell their alleged rights to their past-paid premiums down the commercial chain, and

thus Wilmington Trust has utterly failed to prove that Viva is, in fact, the assignee of any such


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  Indeed, as Justice Traynor suggested at during oral argument in Seck: Any argument that Viva’s
predecessors intended to sell those rights to Viva would itself be evidence that both Delta Lloyd
and Viva knew that the Policies would, if challenged, be deemed void for lack of insurable interest.

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rights. See, e.g., Del. Tr. Co. v. Everitt, 140 A.2d 778, 782 (Del. Ct. Ch. 1958) (the assignee has

the burden of proving the assignment); Klinedinst v. CACH, LLC, 2014 WL 606629, at *1 (Del.

Super. Ct. Jan. 10, 2014) (“[A] plaintiff with an assignment has the burden to show the assignment

in order to establish it is the proper party to bring the action.”) (citing cases).

        Fourth, even if we were to assume for sake of argument that all prior owners purported to

convey their past-paid premium rights, if any, down the commercial chain, Wilmington Trust has

yet another failure of proof, namely that Wilmington Trust does not even try to prove that those

prior owners possessed premium refund rights to begin with. If those prior owners did not

themselves have a right to a refund—because, for example, they did not pay premiums reasonably

unaware of the insurable interest problems—then they would not have any refund rights to convey,

meaning Viva could not possibly have taken an assignment of any such (non-existent) rights. See

Resort Point Custom Homes, LLC v. Tait, 2010 WL 1443274, at *2 (Del. Super. Ct. Apr. 7, 2010)

(“It is a rudimentary principle of contract law that the assignee takes the assigned claim subject to

all defenses of the obligor against the assignor. That is to say that the assignee stands in the shoes

of the assignor. He acquires no greater right than that which was possessed by his assignor.

Moreover, defenses may be interposed against the assignee if they were available against the

assignor.”) (footnote calls omitted).Viva’s inability to prove that any prior owner could satisfy a

§ 198 exception is fatal to Viva’s claim that it can enforce any such unproven rights.15

        Fifth, as noted, Wilmington Trust argues that it can recover from Columbus Life premiums

Viva did not pay because Viva paid                      to Delta Lloyd. But, unjust enrichment is not

available where there is an adequate remedy at law. See Malkin, 2022 WL 1671966, at *13 (STOLI


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   Not only did Viva fail to argue that any of its predecessors could satisfy a § 198 exception, but
Viva did not take discovery from those prior owners, meaning the record is devoid of any evidence
to that effect, and summary judgment is appropriate.

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investor has no unjust enrichment claim for premium paid if investor has legal claim to recover

those premiums against third-party). Here, Wilmington Trust pats itself on the back because Viva

supposedly acquired what Wilmington Trust describes as fulsome representations and warranties

relating to the Policies’ insurable interest “in perpetuity” from the seller’s servicer. (Ans._Br. at

31) (original emphasis). Once the Policies are deemed void ab initio for lack of insurable interest,

Wilmington Trust (or Viva) can seek to recover the                Viva paid Delta Lloyd from Delta

Lloyd and/or its servicer who made insurable interest representations to Viva. But due to the

availability of this remedy, it cannot recover those amounts from Columbus Life.

       Finally, it would violate basic principles of justice to allow Wilmington Trust to knowingly

pay premiums on Policies                                                 for years in the hopes of

eventually sneaking death claims on those human life wagers past the carrier and then—when it

gets caught—force the carrier to pay that STOLI investor $11+ million more than it paid in

premium and $6+ million more than the total STOLI death benefit. It is against everything

Delaware law stands for to reward investors for knowingly buying illegal human life wagers that

“are void ab initio, anathema to hundreds of years of public policy, [and] violative of the Delaware

Constitution.” Malkin, 2022 WL 1671966, at *9 n. 48. Indeed, investing in STOLI in Delaware

should never be profitable because STOLI investing violates Delaware’s Constitution. See Malkin,

2022 WL 1671966, at *9 (“[B]ecause STOLI policies are void ab initio, when an investor receives

their proceeds it does not commit ‘a violation of the rights of the claimant’ but rather a violation

of Article II, Section 17 of Delaware Constitution and of the State’s public policy.”). That is

precisely the outcome Wilmington Trust is angling for here: To profit from investing in STOLI.




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       B.      If The Court Determines Wilmington Trust Is Entitled To Some Amount Of
               A Refund, That Award Should Not Include Pre-Judgment Interest.

       Because this Court should not award Wilmington Trust any premium refund, this Court

need not address the question of pre-judgment interest. But to the extent this Court deems some

amount of refund appropriate, Wilmington Trust is not entitled to pre-judgment interest on it. The

reasons for this are already set forth in Columbus Life’s summary judgment papers and include

the indisputable fact that at no time prior to this litigation did Wilmington Trust (or Viva) ever

demand that Columbus Life cancel the Policies and refund its premium. See CL_Ans._Br. at 25.

       Wilmington Trust’s argument that it is entitled to pre-judgment interest is limited to a

single paragraph (Op. Br. 45) in which it cites to a per curiam decision by a panel of the Eleventh

Circuit in the Sun Life/Malkin case for the proposition that where “the claimant seeks a refund of

payments it never should have made, prejudgment interest accrue[] from the date of the claimant’s

payments.” Sun Life v. U.S. Bank, 693 F. App’x 838, 841 (11th Cir. 2017) (citing Valeant Pharma.

v. Jerney, 921 A.2d 732 (Del. Ch. 2007) and Segovia v. Equities First, 2008 WL 2251218, at *23

(Del. Super. Ct. May 30, 2008)). But the Sun Life/Malkin panel’s decision with respect to

prejudgment interest is at odds with Delaware Supreme Court precedent.

       In Moskowitz v. Mayor and Council of Wilmington, the Delaware Supreme Court held that

pre-judgment interest on a refund claim cannot begin to accrue unless and until the claimant makes

a demand for that refund. 391 A.2d 209, 211 (Del. 1978).16 The Moskowitz court thus rejected the




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   Although the plaintiff in Moskowitz was a taxpayer who had made excessive tax payments to
the City of Wilmington, the court explained that the rules it was applying were applicable generally
and not limited to tax contexts. 391 A.2d at 211. Accordingly, Delaware courts have applied
Moskowitz’s notice or demand requirement in a variety of contexts outside the tax area. See, e.g.,
Aveta Inc. v. Bengoa, 2010 WL 3221823, at *2 (Del. Ch. Aug. 13, 2010) (“When a party has a
right, contractual or otherwise, to a monetary amount, the party is entitled to prejudgment interest
running from the date the [p]ayment is due. Payment becomes due when a particular amount is
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very argument Wilmington Trust makes here (as well as the conclusion reached by the panel in

Sun Life/Malkin),17 namely that interest on a refunded payment must always accrue from the date

on which the payment was made. As the Moskowitz court explained, “[t]he computation of interest

may vary from case to case, depending upon two considerations.” Id.

        Relevant here is the consideration that prejudgment interest on a refunded payment can

begin to accrue only after the plaintiff has informed the recipient that the payment was excessive,

improper, or unlawful. As the Moskowitz court explained: “[I]nterest is awarded from the date the

taxpayer gave notice to the governmental entity that the taxpayer considered the tax payment

unlawful or improper . . . Thus, a taxpayer may recover interest from the date the tax payment was

made if the payment was accompanied by adequate notice that the payment is considered to be

excessive, improper, or unlawful; but if such notice did not accompany the tax payment then

interest will not begin to accumulate until there has been a later act constituting notice to the taxing

authority that, in the opinion of the taxpayer, the tax is excessive, improper, or illegal.” Id. at 211.

        One “rationale underlying this rule is that money is not due and payable, and thus not in

default, until there has been a demand therefor.” Id. Another is fairness: A party “should only pay

interest from the time it fairly had the opportunity to satisfy the plaintiff’s demand for

reimbursement.” Meyers v. Quiz–DIA LLC, 2018 WL 1363307, at *12 (Del. Ch. Mar. 16, 2018).




demanded.”); Pontone v. Milso Indus., 100 A.3d 1023, 1058 (Del. Ch. 2014) (“A party from whom
advancement is improperly withheld is entitled to interest computed from the date of demand.”).
17
   The panel’s decision in Sun Life/Malkin never so much as mentions Moskowitz, even though
that is the Delaware Supreme Court’s seminal case on the question of when interest on a refunded
payment accrues. Instead of following Moskowitz, Sun Life/Malkin relied on Valeant and Segovia,
but those cases are inapposite because (i) they too make no mention of Moskowitz; and (ii) neither
actually discusses the question of accrual dates; indeed, there is no indication the parties even
contested the accrual date. Valeant, 921 A.2d at 755–56; Segovia, 2008 WL 2251218, at *23.

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        Under Moskowitz—the Delaware Supreme Court’s seminal case on the question of when

pre-judgement interest begins to accrue on a refund claim—Wilmington Trust is not entitled to

any interest on any premium refund this Court might deem fit to award. Before it paid a single

penny in premium, Wilmington Trust                                                                  It

deliberately declined to demand that Columbus Life cancel the Policies and refund premium.

Instead, it chose to

                                      . Importantly, before each and every premium payment

Wilmington Trust made, it had the option to reach out to Columbus Life                         and to

ask for a policy cancellation and refund. But at every single juncture, Wilmington Trust declined

to do so. Under Moskowitz, Wilmington Trust is not entitled to pre-judgment interest on any refund

that might ultimately be awarded because Wilmington Trust never made a demand for such a

refund, let alone told Columbus Life that the payments were excessive, improper, or unlawful.

        This is true even for the period during which this litigation has been pending. In its Answer,

Affirmative Defenses, and Counterclaims, Wilmington Trust denied the Policies were invalid and

thus denied that it had any right to a premium refund. Wilmington Trust then entered into a

litigation charade where it sat idly by as Columbus Life spent substantial resources developing an

evidentiary record sufficient to prove that the Policies were STOLI. But, as Wilmington Trust itself

now concedes, it never intended to defend the Policies’ validity, and always intended to concede

the lack of insurable interest to take advantage of what Wilmington Trust refers to as the Policies’

“peculiar economics”—economics that were known to Wilmington Trust at the outset of this

litigation—so that Wilmington Trust could shoot the moon for windfall profits many millions of

dollars in excess of what its profits would have been had the Policies never been challenged.




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       Indeed, under Moskowitz, the trial court has “some discretion in determining the amount

of interest where there has been undue delay in the process of a lawsuit,” taking “into consideration

all of the actions of the parties and apportion[ing] fault for any delay, thereby reducing the interest

due in accordance with the degree of the plaintiff's or his attorney's responsibility for the delay in

determining the question at issue.” 391 A.2d at 211. That is exactly what Wilmington Trust did

here through its litigation charade, and as a consequence, the entire period of this litigation should

be exempt from pre-judgment interest because Wilmington Trust has been playing a dilatory, bad

faith game all along in an attempt to balloon any refund with years of pre-judgment interest.18

III.   CONCLUSION

       For the reasons set forth above, and in Columbus Life’s prior moving papers, Columbus

Life’s Motion for Summary Judgment should be granted and Wilmington Trust’s Motion for

Summary Judgement should be denied.



Dated: June 23, 2022

                                                       Respectfully submitted,

                                                       /s/ Donald L. Gouge, Jr.
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18
  By its terms, Delaware’s legal rate of interest, as specified in 6 Del. C. § 2301(a), applies only
“[w]here there is no expressed contract rate.” See Watkins v. Beatrice Co., 560 A.2d 1016, 1023
(Del. 1989). Moreover, where the remedy is equitable (as in the case of restitution) rather than
legal, the court has discretion in fixing the rate. See Am. Gen. Corp. v. Continental Airlines Corp.,
622 A.2d 1, 14 (Del. Ch. 1992). To the extent that this Court determines (as it should not do) that
some amount of pre-judgment interest is appropriate, the more appropriate rate is not Delaware’s
legal rate of 5% over the Federal Reserve Discount Rate but rather the contractual rate of 3%. Ex.
T at 862, 875; Ex. CC at 330, 344. The parties specifically contemplated that, had the Policies
been legitimate, this contractual rate would have applied to the Account Value of the Policies.

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                                CERTIFICATE OF SERVICE

       I, Donald L. Gouge, Jr., do hereby certify that on this 23rd day of June, 2022, a copy of the

within Plaintiff Columbus Life Insurance Company’s Reply Brief in Support of its Motion for

Summary Judgment was filed via CM/ECF and served on all counsel of record.




Dated: June 23, 2022                                 /s/ Donald L. Gouge, Jr.
                                                     Donald L. Gouge, Jr. (#2234)




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